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Timothy V. Magill, Esq., 082398
MAGILL LAW OFFICES
5084 North Fruit Avenue, Suite 106
Fresno, California 93711
Telephone : (559) 229-3333
Facsimile: (559) 229-4234

Attorney for Defendant, SUKHWINDER SINGH



                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                              Case No.: 1: 04-CR-05356-AWI
                                                       (Consolidated with 1:06-CR-00004 AWI)
                 Plaintiff,
                                                       ORDER
       vs.
                                                       Honorable Anthony W. Ishii

NIJJAR BROTHERS TRUCKING, INC, et al.,

            Defendants.
___________________________________/

       Good cause having been shown, Sukhwinder Singh's conditions of release have been

modified to allow him to travel to Punjab, India, to testify in a court matter. Mr. Singh shall

leave the Eastern District of California on Thursday, May 1, 2008 and return on Monday, June

30, 2008.

       Mr. Singh's passport shall be returned by the court to allow him to travel for the purposes

of this trip. Mr. Singh shall return the passport to the court upon his return to the Eastern District

of California.

IT IS SO ORDERED.

Dated:       April 18, 2008                         /s/ Anthony W. Ishii
0m8i78                                        UNITED STATES DISTRICT JUDGE
